              Case: 1:14-cr-00107-MRB Doc #: 287 Filed: 03/03/16 Page: 1 of 6 PAGEID #: 1441

AO 245B(Rev. 10/15) Judgment in aCriminal Case
         Sheet I




                                         United States District Court
                                                  SOUTHERNDistrict of OHIO (Cincinnati)
                                                                         )
              UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                  v.


                                                                               Case Number:            l:14crl07-7
                             Ty Miller
                                                                               USM Number:             72697-061

                                                                        )      Herbert Haas, Esq.
                                                                         )     Defendant's Attorney
THE DEFENDANT:
E3 pleaded guilty tocount(s)        1of the Indictment
[~| pleaded nolo contendere to count(s)
   which was accepted by the court.
|~~1 was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                       Offense Ended             Count
21 USC 841(a)(1),                Conspiracy to Possess with Intent to Distribute Cocaine                 10/21/2014        1
(b)(1)(C), 846 &
18 USC 2




       The defendant is sentenced as provided in pages 2 through                       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[~1 The defendant has been found not guilty on count(s)
nCount(s)                                          Q is         Q are dismissed on the motion ofthe United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposedby this judgment are fully paid. If orderedto
pay restitution,the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      3/1/2016
                                                                      Date of Imposition of Judgment



                                                                        *&A///L^(~
                                                                      Signature of Judge




                                                                      Michael R. Barrett. United States District Judge
                                                                       Name and Title of Judge
                   Case: 1:14-cr-00107-MRB Doc #: 287 Filed: 03/03/16 Page: 2 of 6 PAGEID #: 1442
AO 245B (Rev. 10/15) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                      Judgment—Page    2      of
DEFENDANT:                    Ty Miller
CASE NUMBER:                  1:14crl 07-7



                                                             IMPRISONMENT

          The defendant is hereby committed tothecustody oftheUnited States Bureau of Prisons to be imprisoned for a
total term of:
Count 1: One (1) day custody with credit for time served.




      |~1 The court makes the following recommendations tothe Bureau of Prisons:




      l~1 The defendant isremanded to the custody of the United States Marshal.

      |~| The defendant shall surrender to the United States Marshal for this district:
          [~i at                                 O a.m.       £] p.m.         on
          O    as notified by the United States Marshal.

      [~i The defendant shall surrender for service of sentence attheinstitution designated by theBureau of Prisons:
          l~l before 2 p.m. on                                           .
          I~l asnotified by the United States Marshal.
          |~1 as notified by the Probation orPretrial Services Office.


                                                                    RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                          to

 at                                                 , withacertified copyof thisjudgment.

                                                                                                  UNITED STATES MARSHAL




                                                                             By
                                                                                               DEPUTY UNITED STATES MARSHAL
                   Case: 1:14-cr-00107-MRB Doc #: 287 Filed: 03/03/16 Page: 3 of 6 PAGEID #: 1443
AO 245B (Rev. 10/15)Judgmentin a Criminal Case
        Sheet 3 — Supervised Release

                                                                                                                    Judgment—Page        3       of
DEFENDANT:                      Ty Miller
CASE NUMBER:                    1:14crl 07-7


                                                              SUPERVISED RELEASE

Upon release from imprisonment, thedefendant shall be on supervised release for a term of:
Count 1: five (5) years.
             The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from thecustody of
the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall notunlawfully possess a controlled substance. The defendant shall refrain from anyunlawful useof a controlled substance. The
defendant shall submit toone drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined bythe
court.

I—I The abovedrugtestingcondition is suspended, based on the court's determination thatthe defendant posesa low risk of
'—' future substance abuse. (Check, ifapplicable.)
IaI The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check ifapplicable.)
Kl The defendant shall cooperate in the collection ofDNAas directed bythe probation officer. (Check, ifapplicable.)
         The defendant shall complywiththe requirements of the Sex Offender Registration andNotification Act (42 U.S.C. § 16901, erseq.)asdirected by the
I I probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which heor she resides, works, isastudent, or was convicted
         of a qualifying offense. (Check, ifapplicable.)

I I The defendant shall participate inan approved program for domestic violence. (Check, ifapplicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised releasethat the defendant pay in accordancewith the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probationofficer;
   2)      the defendant shall report to the probation officer in a mannerand frequency directedby the court or probation officer;
   3)      the defendantshallanswertruthfully all inquiriesby the probation officer and follow the instructions of the probation officer;
   4)      the defendantshall supporthis or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unlessexcusedby the probation officer for schooling, training, or otheracceptable reasons;
   6)      the defendant shall notify the probation officerat leastten days prior to any changein residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,distribute, or administer any controlled substance or any
           paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendantshall not frequent placeswhere controlledsubstances areillegallysold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
           granted permission to do so by the probation officer;
  10) the defendant shall permit a probation officerto visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view of the probationofficer;
  11)      the defendant shall notifythe probation officerwithinseventy-two hours of beingarrested orquestioned by a lawenforcement officer;
  12) the defendant shall not enterinto any agreement to actas an informer or a special agent of a law enforcement agency without the permission of the
           court; and
  13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
      personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with
           such notification requirement.
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A0245B (Rev. 10/15)Judgmentin a Criminal Case
       Sheet 3A — Supervised Release

                                                                                                      Judgment—Page       4       of        6
DEFENDANT:                Ty Miller
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                                     ADDITIONAL SUPERVISED RELEASE TERMS

The Defendant shall participate ina program of random drug testing and treatment as directed bythe United States Probation Department.
The Defendant is prohibited from incurring any new credit charges orestablishing additional lines of credit until the fine is paid in full and/or
The Defendant shall provide all financial information to theUnited States Probation Department.
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AO 245B (Rev. 10/15)Judgmentin a Criminal Case
         Sheet 5 — Criminal Monetary Penalties

                                                                                                        Judgment — Page        5       of      (|i
 DEFENDANT:                       Ty Miller
CASE NUMBER:                      l:14crl07-7


                                                 CRIMINAL MONETARY PENALTIES

     The defendant must paythe total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                      Fine                                  Restitution
TOTALS             $   100.00                                      $                                     $


l~l The determination ofrestitution is deferred until                 .An Amended Judgment in a Criminal Case(A0 245C) will be entered
     after such determination.

[~1 The defendant must make restitution (including community restitution) tothe following payees inthe amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                Total Loss*                      Restitution Ordered                          Priority or Percentage




 TOTALS


 Q     Restitution amount ordered pursuant to plea agreement $
 •     The defendant must pay interest on restitution and afine ofmore than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. §3612(f). Allof the payment options onSheet 6 may besubject
       to penalties for delinquency anddefault, pursuant to 18 U.S.C. § 3612(g).

 •     The court determined that the defendant does nothave the ability to pay interest and it isordered that:
       (~| the interest requirement iswaived for the         Q fine     Q restitution.
       •    the interest requirement for the      •   fine    •   restitution is modified as follows:
 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13,1994, but before April 23,1996.
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AO 24SB (Rev. 10/15)Judgment in a CriminalCase
        Sheet 6 — Scheduleof Payments

                                                                                                           Judgment — Page        6       of
DEFENDANT:                  Ty Miller
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                                                     SCHEDULE OF PAYMENTS

Having assessed thedefendant's ability to pay, payment of thetotal criminal monetary penalties is due as follows:
A |3 Lump sum payment of$ 100.00                             due immediately, balance due
           [~l not later than ___^                               ,or
      ^3 in accordance     • C, • D, Q E, or                      • Fbelow; or
B Q Payment to begin immediately (may be combined with []C,                Q D,        OF below); or
C |_J Payment in equal               (e.g„ weekly, monthly, quarterly) installments of $                                       over aperiod of
                          (eg., months or years),to commence                    (e.g., 30 or 60days)after the date of this judgment; or
D     LJ Payment inequal                         (e.g., weekly, monthly, quarterly) installments of $                          over aperiod of
                          (e.g„ months oryears), to commence                    (e.g., 30or 60days) afterrelease from imprisonment to a
           term of supervision; or
E     Q Payment during the term ofsupervised release will commence within                               (e.g., 30 or 60 days) after release from
           imprisonment. The courtwill set the payment plan based on an assessment ofthe defendant'sabilityto pay at thattime; or
F     n    Special instructions regarding the payment of criminal monetary penalties:
           While incarcerated,if the Defendant is working in a non-UNICOR or Grade S UNICOR job, the Defendant shall pay $25.00 per
           quarter toward his fine obligation. If working in a Grade 1 to 4 UNICOR job, the Defendant shall pay 50% of his monthly pay
           toward the fine obligation. Any change in this schedule shall be made only by order of this Court.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made throughthe Federal Bureauof Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 I~l Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




|~l The defendant shall pay the cost of prosecution.
 [~) The defendant shall pay the following court cost(s):
 13 The defendant shall forfeit the defendant's interest inthe following property to the United States:
      All assets which are proceeds ofcrime or traceable to such proceeds ofcrime and all instrumentsused to aid in committing crimes. Order
      to follow when appropriate.

 Payments shallbe applied in the following order (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest,(6) community restitution, (7) penalties, and (8) costs, includingcost of prosecution and courtcosts.
